      Case 3:16-md-02741-VC Document 18172 Filed 04/05/24 Page 1 of 7



 1 WILKINSON STEKLOFF LLP              COVINGTON & BURLING LLP
   Brian L. Stekloff (pro hac vice)    Michael X. Imbroscio (pro hac vice)
 2 (bstekloff@wilkinsonstekloff.com)   (mimbroscio@cov.com)
 3 Rakesh Kilaru (pro hac vice)        One City Center
   (rkilaru@wilkinsonstekloff.com)     850 10th St. NW
 4 2001 M St. NW                       Washington, DC 20001
   10th Floor                          Tel: 202-662-6000
 5 Washington, DC 20036
 6 Tel: 202-847-4030                   BRYAN CAVE LEIGHTON PAISNER LLP
   Fax: 202-847-4005                   K. Lee Marshall (CA Bar No. 277092)
 7                                     (klmarshall@bclplaw.com)
   HOLLINGSWORTH LLP                   Three Embarcadero Center, 7th Floor
 8 Eric G. Lasker (pro hac vice)       San Francisco, CA 94111
   (elasker@hollingsworthllp.com)      Tel: 415-675-3400
 9 1350 I St. NW                       Fax: 415-675-3434
10 Washington, DC 20005
   Tel: 202-898-5843                   Jed P. White (CA Bar No. 232339)
11 Fax: 202-682-1639                   (jed.white@bclplaw.com)
                                       120 Broadway, Suite 300
12                                     Santa Monica, CA 90401
13                                     Tel: 310-576-2100
                                       Fax: 310-576-2200
14
   Attorneys for Defendant Monsanto
15 Company
16                       UNITED STATES DISTRICT COURT
17                    NORTHERN DISTRICT OF CALIFORNIA
18 IN RE: ROUNDUP PRODUCTS               MDL No. 2741
19 LIABILITY LITIGATION,                 Case No. 3:16-md-02741-VC
20
   Edilia Gonzalez, et al.,              MONSANTO COMPANY’S NOTICE OF
21 3:19-cv-08225-VC                      MOTION AND MOTION FOR
                                         SUMMARY JUDGMENT ON
22                                       CAUSATION GROUNDS
23                                       Hearing:
24                                       Date: May 23, 2024
                                         Time: 2:00 p.m.
25                                       Place: Courtroom 4 (Via Zoom)
26
27
28

                         MONSANTO’S MOTION FOR SUMMARY JUDGMENT
      Case 3:16-md-02741-VC Document 18172 Filed 04/05/24 Page 2 of 7



 1         TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF
 2 RECORD:
 3         PLEASE TAKE NOTICE THAT on May 23, 2024 at 2:00 p.m. in
 4 Courtroom 4 of the United States District Court, Northern District of California,
 5 located at 450 Golden Gate Avenue, San Francisco, CA 94102, or as ordered by the
 6 Court, Defendant Monsanto Company (“Monsanto”) will move this Court for an
 7 order, pursuant to Federal Rule of Civil Procedure 56(c), entering judgment in its
 8 favor and against Wave 7D Plaintiffs Edilia Gonzalez, Amayrani Balbuena
 9 Gonzalez, Caesar Manuel Balbuena Gonzalez, Laura Balbuena Gonzalez
10 (“Plaintiffs”), on the grounds that there is no genuine issue of material fact as to any
11 claim for relief brought by Plaintiff, and Monsanto is entitled to summary judgment.
12 Dated: April 5, 2024                     Respectfully submitted,
13
                                            /s/ Jed P. White
14                                              Jed P. White
15                                          Attorney for Defendant Monsanto Company

16
17
18
19
20
21
22
23
24
25
26
27
28
                                               1
                MONSANTO’S NOTICE OF MOTION & MOTION FOR SUMMARY JUDGMENT
      Case 3:16-md-02741-VC Document 18172 Filed 04/05/24 Page 3 of 7



 1                MEMORANDUM OF POINTS AND AUTHORITIES
 2         To prevail on any of their claims, Plaintiffs must prove that Roundup was the
 3 proximate cause of Manuel Balbuena’s (“Decedent”) cancer. Whether Roundup—a
 4 chemical compound—is defective, can cause cancer generally, and whether it actually
 5 did cause Decedent’s cancer specifically, are specialized issues for which expert
 6 testimony is required. Plaintiffs failed to disclose any expert reports regarding
 7 specific causation, which were due March 22, 2024. Without expert testimony to
 8 prove specific causation, none of Plaintiffs’ claims may proceed.
 9                                    BACKGROUND
10         Plaintiffs are residents of California, and allege that exposure to Monsanto’s
11 Roundup-branded herbicides (“Roundup”) in California caused Decedent to develop
12 cancer. See Complaint. ECF 1, ¶¶ 1-5, 121. Plaintiffs seek to hold Monsanto
13 responsible for Decedent’s cancer, asserting six causes of action. The lynchpin of
14 Plaintiffs’ complaint is that glyphosate—the active-ingredient in Roundup—caused
15 Decedent’s cancer. See id.
16         On August 30, 2023, this MDL Court required all Wave 7D plaintiffs, including
17 Plaintiff in this case, to submit expert reports no later than March 22, 2024. See Order
18 Granting Joint Request for Revised Schedule for Wave 6-7 Cases and Adding Wave
19 8 Schedule (“Scheduling Order”) (MDL ECF #17234). The expert discovery required
20 by this Order must be accompanied by written reports signed by the experts and must
21 contain “a complete statement of all opinions the witnesses will express and the basis
22 and reasons for them,” among other information. Fed. R. Civ. P. 26(a)(2)(B)(i).
23         Plaintiffs did not submit an expert report regarding specific causation by the
24 March 22, 2024 deadline. Specifically, Plaintiffs have not served any expert report
25 containing case-specific evidence of a causal link between Roundup exposure and
26 Decedent’s cancer. (Declaration of Jed White (“White Decl.”), ¶ 3.)
27
28
                                               1
                          MONSANTO’S MOTION FOR SUMMARY JUDGMENT
        Case 3:16-md-02741-VC Document 18172 Filed 04/05/24 Page 4 of 7



 1                       SUMMARY JUDGMENT STANDARD
 2          Summary judgment is appropriate when there is “no genuine dispute as to any
 3 material fact and the moving party is entitled to judgment as a matter of law.” Fed. R.
 4 Civ. P. 56(a). A fact is material when it could affect the outcome of the case, and a
 5 dispute about a material fact is genuine “if the evidence is such that a reasonable jury
 6 could return a verdict for the nonmoving party.” Anderson v. Liberty Lobby, Inc., 477
 7 U.S. 242, 248 (1986). The moving party bears the burden of “informing” the Court
 8 that there exists the “absence of a genuine issue of material fact.” Celotex Corp. v.
 9 Catrett, 477 U.S. 317, 323 (1986). Once the moving party has met this burden, the
10 nonmoving party must come forward with evidence to show there is in fact a genuine
11 issue for trial. Id. at 323-24. A “complete failure of proof concerning an essential
12 element of the nonmoving party’s case” warrants summary judgment and “necessarily
13 renders all other facts immaterial.” Id. at 323.
14                                      ARGUMENT
15 I.       SUMMARY JUDGMENT IS REQUIRED BECAUSE PLAINTIFFS
16          LACK THE REQUIRED ADMISSIBLE EXPERT TESTIMONY ON
17          CAUSATION.
18          Under California law, expert medical testimony is required to establish
19 causation of a specific physical injury if such cause is not within the common
20 knowledge of the jurors. Stephen v. Ford Motor Co., 134 Cal. App. 4th 1363, 1373
21 (2005) (in a product liability case “where the complexity of the causation issue is
22 beyond common experience, expert testimony is required to establish causation”); see
23 also Fitzgerald v. Manning, 679 F.2d 341, 350 (4th Cir. 1982) (“expert testimony is
24 usually necessary to support the conclusion as to causation” where the cause of the
25 alleged injury is “determinable only in the light of scientific knowledge”).
26          Here, Plaintiffs allege that Decedent was diagnosed with cancer, which they
27 claims was caused by her exposure to Roundup. See Compl. ¶¶ 121-123. “With
28 cancer the question of causation is especially troublesome[;] . . . it is frequently
                                               2
                         MONSANTO’S MOTION FOR SUMMARY JUDGMENT
      Case 3:16-md-02741-VC Document 18172 Filed 04/05/24 Page 5 of 7



 1 difficult to determine the nature and cause of a particular cancerous growth.” Jones v.
 2 Ortho Pharm. Corp., 163 Cal. App. 3d 396, 403 (1985). As a result, “the unknown
 3 and mysterious etiology of cancer is beyond the experience of laymen and can only
 4 be explained through expert testimony.” Id. (citation and internal quotation marks
 5 omitted). Thus, the causal link between Decedent’s injury and Roundup is a highly
 6 technical question of science that is beyond the jurors’ understanding.
 7         Plaintiffs’ deadline to disclose expert reports was March 22, 2024. See
 8 Scheduling Order. To date, Plaintiffs have not disclosed a single expert witness or
 9 report regarding specific causation. Plaintiffs had ample time and opportunity to
10 satisfy their expert disclosure obligations under Rule 26(a)(2) and the Scheduling
11 Order. And honoring strict deadlines in an MDL is particularly important. See Allen
12 v. Bayer Corp. (In re: Phenylpropanolamine (PPA) Prods. Liab. Litig.), 460 F.3d
13 1217, 1222 (9th Cir. 2006) (affirming dismissal of cases in MDL for failure to comply
14 with case management orders because “multidistrict litigation is different because of
15 the large number of cases that must be coordinated, its greater complexity, and the
16 court’s statutory charge to promote the just and efficient conduct of the actions”).
17         This Court has granted summary judgment in favor of Monsanto in similar
18 cases where the plaintiff failed to disclose a specific causation expert, finding that
19 expert testimony was required to prove causation:
20
           Expert testimony also is required to establish causation for Matthaus-
21         Shelton’s other product liability and tort claims. That’s because whether
22         Roundup caused her multiple myeloma is a highly technical question that
           is not within the common knowledge and experience of an ordinary
23         layperson.
24 Matthaus-Shelton v. Monsanto Company, 20-cv-00168, Doc. No. 17 (Order Granting
25 Summary Judgment, dated November 29, 2022); see also Adrine Hann v. Monsanto
26 Company, 20-cv-7213, Doc. No. 23 (Order Granting Summary Judgment, dated
27 November 3, 2022) (“Whether Roundup caused [Plaintiff’s] multiple myeloma is a
28
                                               3
                         MONSANTO’S MOTION FOR SUMMARY JUDGMENT
      Case 3:16-md-02741-VC Document 18172 Filed 04/05/24 Page 6 of 7



 1 highly technical and scientific question. Without expert testimony, a jury can only
 2 speculate.”).
 3         As a result of Plaintiffs’ failure to disclose any expert on the issue of specific
 4 causation, they cannot prove causation—an essential element of all their claims.
 5 Without any evidence of case-specific causation, Monsanto is entitled to summary
 6 judgment on all Plaintiffs’ claims. See Stephen, 134 Cal. App. 4th at 1373-74
 7 (plaintiff’s “inability to present expert testimony was fatal to her product liability and
 8 negligence claims, and [thus] nonsuit was proper”); In re Mirena IUD Prods. Liab.
 9 Litig., 202 F. Supp. 3d at 311 (S.D.N.Y. 2016) (“summary judgment is appropriate
10 where required expert testimony is absent from the record”); Martinez v. Ethicon Inc.,
11 No. 7:19-CV-00164, 2020 WL 2113638, at *2 (S.D. Tex. May 1, 2020) (“Products
12 liability cases are quintessentially expert cases, and failure to designate experts almost
13 always leads to summary judgment.”); Sterling v. United States, 834 F. App’x 83, 87
14 (5th Cir. 2020) (upholding summary judgment where the plaintiff failed to designate
15 expert witnesses); Cooper v. Smith & Nephew, Inc., 259 F.3d 194, 196-197 (4th Cir.
16 2001) (affirming dismissal of product liability claims where appellant “had no
17 admissible medical evidence indicating that [defendant]’s device was the proximate
18 cause of his injuries”); Jones v. Danek Med., Inc., No. Civ. A. 4:96-3323-12, 1999
19 WL 1133272, at *5 (D.S.C. Oct. 12, 1999) (“There being no expert testimony
20 regarding causation, summary judgment is granted on the products liability
21 allegations.”).
22                                      CONCLUSION
23         For the foregoing reasons, Monsanto is entitled to summary judgment on all of
24 Plaintiffs’ claims.
25 Dated: April 5, 2024                     Respectfully submitted,
26
                                            /s/ Jed P. White
27                                          Jed P. White
28                                          Attorney for Defendant Monsanto Company

                                                4
                          MONSANTO’S MOTION FOR SUMMARY JUDGMENT
     Case 3:16-md-02741-VC Document 18172 Filed 04/05/24 Page 7 of 7



 1                            CERTIFICATE OF SERVICE
 2        I hereby certify that on April 5, 2024, I electronically filed the foregoing with
 3 the Clerk of the Court by using the CM/ECF system which will send a notice of
 4 electronic filing (NEF) to all counsel of record who are CM/ECF participants.
 5                                         /s/ Jed P. White
 6                                         Jed P. White

 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                               5
                         MONSANTO’S MOTION FOR SUMMARY JUDGMENT
